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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    CITIZENS FOR RESPONSIBILITY AND
    ETHICS IN WASHINGTON,
               Plaintiff,
                                                             Case No. 1:25-cv-00511
          v.

    U.S. DOGE SERVICE, et al.,
                Defendants.




      MOTION FOR SUMMARY JUDGMENT AS TO CLAIMS AGAINST THE
      UNITED STATES DOGE SERVICE, AMY GLEASON, AND ELON MUSK

         Defendants United States DOGE Service (USDS), Amy Gleason, in her official

capacity as Administrator of USDS, and Elon Musk, in his official capacity, 1 respectfully

move for summary judgment as to the claims against them pursuant to Federal Rule of

Civil Procedure 56(a) and Local Rule 7(h). The reasons for this motion are set forth in the

attached Memorandum of Points and Authorities in Support of Defendants’ Motion for

Summary Judgment, Defendants’ Statement of Material Facts as to Which There Is No

Genuine Issue, the Declaration of Amy Gleason, and Exhibit A to the Declaration of

Andrew M. Bernie. A proposed order is also attached.


                                     Respectfully submitted,

                                     YAAKOV M. ROTH
                                     Acting Assistant Attorney General
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  Plaintiff’s Complaint brings claims against “John Doe” in their official capacity as
Administrator of USDS. We construe these claims as claims against Administrator
Gleason. In addition, as explained in Defendants’ memorandum in support, Mr. Musk does
not work for USDS and, to the extent CREW purports to bring claims against Mr. Musk in
his official capacity as a White House Advisor, any such claim is beyond the scope of the
Freedom of the Information Act and the Federal Records Act
                                            1
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                          ELIZABETH J. SHAPIRO
                          Deputy Branch Director, Federal Programs Branch

                          /s/ Andrew M. Bernie
                          Andrew M. Bernie
                          Trial Attorney
                          U.S. Department of Justice
                          Civil Division, Federal Programs Branch
                          1100 L Street, NW
                          Washington, D.C. 20005
                          (202) 353-7203
                          andrew.m.bernie@usdoj.gov

                          Attorneys for Defendant




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